                          CASE 0:06-cr-00196-JRT-JSM          Doc. 424        Filed 10/20/09   Page 1 of 1

                                   IN THE UNITED STATES DISTRICT COURT
                                          FOR THE DISTRICT OF MINNESOTA

                                                       SENTENCING
UNITED STATES OF AMERICA,                                 )                 COURT MINUTES - CRIMINAL
                      Plaintiff,                          )
                                                          )    Case No:               06-196(2) (JRT/JSM)
                              v.                          )    Date:                  10/20/09
                                                          )    Court Reporter:        Kristine Mousseau
Frederick James Fischer (2),                              )    Time Commenced:        2:27 pm
                                          Defendant.      )    Time Concluded:        2:40 pm
                                                          )    Time in Court:         13 Minutes
                                                          )

Before John R. Tunheim, United States District Judge, at Minneapolis, Minnesota.

APPEARANCES:

      For Plaintiff:               Joe Dixon
      For Defendant:               Ronald Meshbesher   9 FPD 9 CJA : Retained 9 Appointed

      : Sentencing.

IT IS ORDERED:

Defendant is sentenced to:

         Count. No.                Plea   Verdict      BOP                  AG           SR         PROB                 HA
          1 of the                   Y                                                               1 year
        Information

      : Special conditions of :

                                                 See J&C for special conditions
      : Defendant sentenced to pay:
         : Fine in the amount of $3,000.00
         : Special assessment in the amount of $100.00 to be paid .

      : Plea and plea agreement accepted.
      : Defendant released on same terms and conditions as previously released.
      : On Motion of the Gov't., Counts 1-9 and Count 15 of the Second Superseding are dismissed as to this
      defendant only.
      : Motion to Quash [Docket No. 277] is DENIED by the Court.


                                                                                                       s/Holly McLelland
                                                                                                         Calendar Clerk


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